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    199A (Rev. d/97) Order Setting Conditions of Release                                                                 Page   loK._)   1Pages




                                    United States District Court

                                                Eastern                District of          Virginia




                  United States of America
                                                                            ORDER SETTING CONDITIONS
                                                                                            OF RELEASE
                               V.

                                                                        Case Number:

                           Defendant


IT IS ORDERED that the release of the defendant is subject to the following conditions:


         (1)   The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.


         (2)   The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
                address and telephone number.

         (3)   The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                directed. The defendant shall appear at (if blank, to be notified).                    United States District Court

                   401 Courthouse So.. Alexandria. VA             on




                                        Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:


       ) £4)   The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.


          (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                           ^—■"                                                 dollars (S^ZDf &* O               \
                in the ^ent of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                   DISTRIBUTION:       COURT       DEFENDANT       PRETRIAL      SERVICES       U.S. ATTORNEY     U.S. MARSHAL
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                                             Additional Conditions of Release
            Upon finding that release by one of the above methods will not by itself reasonably assure the appearance
         of the defendant and the safety of other persons and the community, it is FURTHER ORDERED that the
         release of the defendant is subject to the conditions marked below:


         (      ) (6) The defendant is placed in the custody of:
                         (Name of person or organization)
                   (Address)
                   (City and State)                                                       (Tel.No.)
         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort
         to assure the appearance of the defendant at all scheduled court proceedings, and ( c) to notify the court
         immediately in the event the defendant violates any conditions of release or disappears.


                                                                            Signed:
                                                                                      Custodian of Proxy
                )(7) The defendant shall:
                   (    ) (a) maintain or actively seek employment.
                   (     )JJb) maintain or commence an educational program.
                               i abide by the following restriction on his persona) associations, place of^ode^jor travel:          ^       ■   .^,




                   (     ) (d) avoid all contact with me following named persons, who are considered either alleged victims
                                 or potential witnesses:


                    (t^He) report on a regular basis to the following agency:
                    (    ) (f) comply with the following curfew:


                    (l/Wg) refrain from possessing a firearm, destructive device, or other dangerous weapons.
                    ISfQi) refrain from excessive use of alcohol, and any use or unlawful possession of a narcotic drug or
                                 controlled substance defined in 21 U.S.C. 802 unless prescribed by a licensed medical person.
                    (    ) (I) undergo medical or psychiatric treatment and/or remain in an institution, as follows:

                    (    ) (j) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum
                               of money or designated property:


                    (    ) (k) post with the court the following indicia of ownership of the above-described property, or the
                               following amount or percentage of the above-described money:


                    (     ) (1) execute a bail bond with solvent sureties in the amount of $
                    (     ) (m) return to custody each (week) day as of            o'clock after being release each (week) day as
                                  of                o'clock for employment, schooling, or the following limited purpose(s):
                                   surrender any passport or other travel documents to: ^Sl^»^S" ^^
                    (     ) (o) obtain no passport or travel documents.
                    (     ) (p) undergo substance abuse testing and/or treatment as directed at the direction of Pretrial
                                Services.
                    (     ) (q) the defendant shall not operate a motor vehicle without a valid license.
                    (     ) (r) the defendant is placed on home detention with electronic monitoring as directed.




WHITE COPY. COURT               YELLOW - OEFENOANT                BLUE - U.S. ATTORNEY       PINK - U.S. MARSHAL     GREEN - PRETRIAL SERVICES
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      199C (Rev. 6/97) Advice of Penalties...                            Page \,S) of-                                                 .Pages


                                                  Advice of Penalties and Sanctions


TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

    A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.
    The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
    If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
         not more than $250,000 or imprisoned for not more than 10 years, or both;
    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
         more than $250,000 or imprisoned for not more than five years, or both;
    (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
    (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
    A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of Defendant

     I acknowledge that I am the defendant in this case and that I am aware of the      pnditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence im]     11 am aware of the penalties and sanctions set forth
above.




                                                                                     City and State                            Telephone




                                                  Directions to United States Marshal

 (   ) The defendant is ORDERED released after processing.
 (   ) The United States marshal is ORDERED to keep the defendant in custody until notified by                   srk or judicial officer that the
         defendant has posted bond and/or complied with all other conditions for release. The                    Jail be produced before the
         appropriate judicial officer at the lime;and place specified, if still in
                                                                                                                    hf                     .
         Date:
                                                                                                T.S. Ellis, HI
                                                                                                United States District Jwfct



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